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                UNITED STATES DISTRICT COURT
                SOUTHERN DISTRICT OF GEORGIA
                     SAVANNAH DIVISION

JOSE ORLANDO GARCIA-DURAN,            )



                                      )



      Movant,                         )



                                      )




                                      )       Case No. CV412-221
                                      )                 CR4 10-100
UNITED STATES OF AMERICA,             )



                                      )



      Respondent.                     )




                               ORDER

      Let a copy of this Report and Recommendation be served upon movant
and counsel for respondent. Any objections to this Report and
Recommendation must be filed with the Clerk of Court not later than May 8,
2013. The Clerk shall submit this Report and Recommendation together with
any objections to the Honorable B. Avant Edenfield, United States District
Judge, on May 9, 2013. Failure to file an objection within the specified time
means that this Report and Recommendation may become the opinion and
order of the Court. Nettles v. Wainwright, 677 F.2d 404 (5th Cir. 1982), and
further waives the right to appeal the District Court's Order. Thomas v. Am,
474 U.S. 140 (1985).
      All requests for additional time to file objections to this Report and
Recommendation should be filed with the Clerk for consideration by the
District Judge to whom this case is assigned.
      SO ORDERED this 24th day of April, 2013.

                                                        Jf

                                          UNITED STATES MAGISTRATE JUDGE
                                          SOLMDMN DISTRICT OF GEORGIA
